     Case 1:03-md-01570-GBD-SN Document 9550 Filed 01/19/24 Page 1 of 7




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


                                                    03-md-1570 (GBD)(SN)
 In re Terrorist Attacks on September 11, 2001
                                                    ECF Case


This Document relates to:
Burnett, et al. v. Al Baraka Inv. & Dev. Corp., et al., No. 03-cv-9849 (GBD)(SN)
 DECLARATION OF JOHN M. EUBANKS IN SUPPORT OF BURNETT PLAINTIFFS’
   MOTION FOR ENTRY OF DEFAULT JUDGMENTS FOR FAMILY-MEMBER
     SOLATIUM CLAIMS UNDER 18 U.S.C. § 2333 AGAINST THE TALIBAN

I, JOHN M. EUBANKS, declare, under penalty of perjury, as follows:

       1.      I am an attorney admitted to practice in the above-captioned matter and Member

Attorney with the law firm Motley Rice LLC, counsel for the Burnett Plaintiffs in this MDL in the

above-referenced matter (the “Burnett Plaintiffs”) that was initially filed in the United States

District Court for the District of Columbia on August 15, 2002 before being transferred to this

Court by order of the Judicial Panel on Multidistrict Litigation. I submit this Declaration in support

of the Burnett Plaintiffs’ motion for entry of default judgement against The Taliban on behalf of

the immediate family members or functional equivalents of individuals murdered on September

11, 2001 (“Burnett 9/11 Decedents”) asserting their claims pursuant to 18 U.S.C. § 2333. This

motion seeks the following relief:

            a. extending to Defendant The Taliban the Court’s previous rulings of Partial Final
               Default Judgment on Behalf of the Burnett Moving Plaintiffs identified in Exhibit
               B-1who are immediate family members or the functional equivalent of immediate
               family members of individuals killed on September 11, 2001 who each also have
               default judgments against the Islamic Republic of Iran, the Islamic Revolutionary
               Guard Corps, and/or the Central Bank of the Islamic Republic of Iran (collectively
               the “Iran Defendants”) pursuant to the default liability judgment entered on January
               31, 2017 (Case No. 15-cv-9903, ECF No. 85), or pursuant to default liability
               judgments entered on their behalf against the Iran Defendants in other cases within
               this MDL, and entering a default judgment under the Anti-Terrorism Act, 18 U.S.C.
               § 2333(a) (“ATA”), against The Taliban in favor of the Burnett Moving Plaintiffs
               in the amounts identified in Exhibits B-1;
     Case 1:03-md-01570-GBD-SN Document 9550 Filed 01/19/24 Page 2 of 7




            b. awarding default judgments to the Burnett Moving Plaintiffs identified on Exhibit
               B-2 who are immediate family members of individuals killed on September 11,
               2001 who have not previously obtained judgments against the Iran Defendants, as
               identified on Exhibit B-2, and were either United States nationals on September 11,
               2001 or their loved one who was killed on September 11, 2001 was a U.S. national,
               in the amounts previously entered by the Court against the Iran Defendants based
               on the relationship of each plaintiff;

            c. awarding pre-judgment interest at the rate of 4.96 percent per annum, compounded
               annually for the period from September 11, 2001 until the date of the judgment for
               damages for those Burnett Moving Plaintiffs included on Exhibits B-1 and B-2;

            d. granting trebled damages under 18 U.S.C. § 2333(a) to the Burnett Moving
               Plaintiffs identified on Exhibits B-1 and B-2;

            e. permitting those Burnett Moving Plaintiffs included on Exhibit C to pursue
               solatium damages against The Taliban under the ATA as the functional equivalents
               of immediate family members of 9/11 Decedents in accordance with the Court’s
               developed mechanism for adjudicating such claims; and

            f. permitting the Burnett Moving Plaintiffs to seek punitive damages and other
               damages at a later date, consistent with any applicable future rulings and to
               supplement the record as part of applications for those damages.

       2.      The form of this motion and the relief requested herein are consistent with the form

and relief requested and granted in the Burnett/Iran action, in orders located at ECF. Nos. 3666

(Burnett I), 3984 (corrected 4023) (Burnett II), 4126 (Burnett III), 4146 (Burnett V), 4175 (Burnett

IV), 4712 (Burnett VI), 5061 (corrected 5062 and 6202) (Burnett VII), 5087 (corrected 6203 and

6205) (Burnett IX), 5092 (Burnett VIII), 5138 (Burnett XI), 5151 (Burnett XII), 5356 (Burnett XIII),

5854 (Burnett XIV), 5946 (Burnett Personal Injury I), 5948 (Burnett Personal Injury II), 5949

(Burnett XV), 5951 (Burnett X), 5955 (Burnett Personal Injury III), 5957 (Burnett Personal Injury

IV), 5975 (Burnett XVI), 5979 (Burnett XVII), 6034 (Burnett XIX), 6035 (Burnett XVIII), 6037

(Burnett XXII), 6038 (Burnett XXI), 6039 (Burnett XX), 6042 (Burnett Supp 1), 6044 (Burnett Supp

2), 7188 (Burnett XXIII), 7287 (Burnett XXIV), 7494 (Burnett Personal Injury V), 8233 (Burnett

XXVI), 8283 (Burnett Personal Injury VI), 8293 (Burnett XXV), and 8310 (Burnett XXVII).

                                                 2
      Case 1:03-md-01570-GBD-SN Document 9550 Filed 01/19/24 Page 3 of 7




         3.       On August 15, 2002, the Burnett Plaintiffs filed their initial Complaint against the

alleged sponsors of the September 11, 2001 terrorist attacks in the United States District Court for

the District of Columbia. That Complaint was twice amended before the case was transferred by

the Judicial Panel on Multidistrict Litigation to the United States District Court for the Southern

District of New York on January 2, 2004.1

         4.       The Taliban was added to the Burnett case pursuant to Case Management Order

No. 2 on December 30, 2004, and service by publication (as permitted by a September 16, 2004

Order issued by Judge Richard C. Casey) was perfected on January 13, 2005. Proof of service was

filed on March 4, 2005 and March 16, 2005, and Defendant The Taliban never answered. The

Burnett Plaintiffs subsequently moved for a Certificate of Default and default judgment, which

this Court granted on April 7, 2006. See ECF No. 1756.

         5.       The Burnett Moving Plaintiffs identified in Exhibits B-1 and B-2 now seek final

damages judgments against The Taliban.

         6.       The sources of my information and the basis for my belief in my statements

contained herein are my personal involvement in this matter, my firm’s representation of the

Burnett Plaintiffs in the MDL, my firm’s representation of the Burnett/Iran Plaintiffs in connection

with the terrorist attacks on September 11, 2001, other court records relating to this multidistrict

litigation to which these individuals are parties, my communications with other counsel for other

plaintiffs in this multidistrict litigation, and conversations with these plaintiffs and other family

members of these plaintiffs. Any matters about which I lack personal knowledge are asserted

herein upon information and belief.


1
 In addition, while still pending before Judge James Robertson in the U.S. District Court for the District of Columbia,
Plaintiffs were permitted to add parties to the pleadings (both Plaintiffs and Defendants) pursuant to Fed. R. Civ. P.
15(d), and this practice was utilized on numerous occasions by the Burnett Plaintiffs to increase the number of
parties—both Plaintiffs and Defendants—prior to the transfer of the case to this Court.

                                                          3
     Case 1:03-md-01570-GBD-SN Document 9550 Filed 01/19/24 Page 4 of 7




       7.      On April 4, 2006, my colleague Robert T. Haefele provided an Affidavit for Entry

of Default and Judgment by Default that was submitted to the Court with multiple exhibits. Exhibit

A to Mr. Haefele’s April 4, 2006 Affidavit included the real parties in interest in the Burnett

litigation, as that term is understood pursuant to Fed. R. Civ. P. 17(a).

       8.      On September 1, 2022, this Court granted the Burnett Plaintiffs’ motion to list all

of the relevant claimants whose claims were encompassed within the filing of the real parties in

interest including the explicit naming of estate plaintiffs and claims of minor children that were

also encompassed within these original filings with filing dates relating back to the time when the

original real party in interest joined this litigation. See ECF No. 8487.

       9.      On November 1, 2022, the Court granted Plaintiffs’ Motion to Add Parties Against

the Taliban that added 529 claims within the Burnett action and stated, “[p]rior rulings, orders, and

judgments entered in this case remain in effect as to all parties.” See ECF No. 8696 at 2.

       10.     On January 12, 2024, the Court granted Plaintiffs’ Motion to Add Parties Against

the Taliban that added four (4) claims within the Burnett action with the same provision as the

Court’s November 1, 2022 Order. See ECF No. 9532.

       11.     On January 16, 2024, Plaintiffs filed a Motion to Add Parties Against the Taliban

that sought to add 13 additional claims within the Burnett action seeking the same application of

prior rulings to these plaintiffs. See ECF No. 9533. Ten (10) of the claims included in the motion

have been included on Exhibit B-1, and a single claim included in the motion has been included

on Exhibit B-2 despite the Court not having yet issued an Order on the pending motion at the time

this Declaration is being executed.

       12.     Exhibit A to this Declaration is the list of plaintiffs that accompanied Plaintiffs’

submission in 2006 upon which the April 7, 2006 default judgment as to liability entered by this



                                                  4
     Case 1:03-md-01570-GBD-SN Document 9550 Filed 01/19/24 Page 5 of 7




Court against inter alia The Taliban. All plaintiffs in this case added since the entry of the default

judgment have been subject to all prior orders of the Court including this default judgment as to

liability against The Taliban.

       13.     Plaintiffs have complied with the quality-control measures discussed in ECF Nos.

3433 and 3435.

       14.     The Burnett Moving Plaintiffs have not previously received and do not have

pending motions requesting judgments against The Taliban within this MDL.

       15.     To the extent that the name of a Plaintiff has changed since the prior judgment was

entered in this MDL, I hereby attest that the parties are the same.

       16.     Exhibit B-1 sets forth those Burnett Moving Plaintiffs for whom prior judgments

have been entered against the Iran Defendants in this MDL and who are either U.S. nationals in

their own right and/or they are the immediate family members of a U.S.-national 9/11 decedent.

The values of the prior judgments are set forth in Exhibit B-1. In general, these values include:

$12,500,000 for the spouse of a 9/11 decedent; $8,500,000 for the child of a 9/11 decedent;

$8,500,000 for the parent of a 9/11 decedent; and $4,250,000 for the sibling of a 9/11 decedent.

Given the U.S. nationality of either the immediate family member or the 9/11 decedent for each

Plaintiff in Exhibit B-1, these claims are being pursued under the ATA.

       17.     Exhibit B-2 sets forth those Burnett Moving Plaintiffs for whom prior judgments

have not been entered against the Iran Defendants in this MDL and who are either U.S. nationals

in their own right and/or they are the immediate family members of a U.S.-national 9/11 decedent.

The values included for these solatium claims follow those previously entered by the Court in other

cases: $12,500,000 for the spouse of a 9/11 decedent; $8,500,000 for the child of a 9/11 decedent;

$8,500,000 for the parent of a 9/11 decedent; and $4,250,000 for the sibling of a 9/11 decedent,



                                                  5
      Case 1:03-md-01570-GBD-SN Document 9550 Filed 01/19/24 Page 6 of 7




and the value based on the familial relationship of each individual included on Exhibit B-2 is set

forth on the exhibit. Given the U.S. nationality of either the immediate family member or the 9/11

decedent for each Plaintiff in Exhibit B-2, these claims are being pursued under the ATA.

        18.      Exhibit C sets forth those Burnett Moving Plaintiffs for whom prior judgments have

not been entered against the Iran Defendants in this MDL and who are either U.S. nationals in their

own right and/or they are seeking a determination that they are the functional equivalents of an

immediate family member of a U.S.-national 9/11 decedent.2 These Plaintiffs seek the Court’s

permission and leave to file motions for damages supported by their declarations and other

evidence substantiating their claims as functional equivalents to immediate family members at a

later date as the Court has previously ordered. See ECF No. 8198 at 8. Given the U.S. nationality

of either the Plaintiff listed on Exhibit C or the 9/11 decedent, these claims are being pursued under

the ATA.

        19.      The judgment values for the Burnett Moving Plaintiffs provided on Exhibits B-1

and B-2 also include a separate column accounting for the mandatory statutory trebling under 18

U.S.C. § 2333(a).

        20.      Included with this motion is a proposed Order of Partial Final Judgment against

The Taliban for the Burnett Moving Plaintiffs identified in Exhibits B-1 and B-2.




2
  Plaintiffs who have received a determination from the Court that they have properly asserted functional-equivalent
status and have obtained judgments against the Iran Defendants have been included on Exhibit B-1 based on their
prior solatium awards.

                                                         6
     Case 1:03-md-01570-GBD-SN Document 9550 Filed 01/19/24 Page 7 of 7




       21.    In accordance with the Court’s July 11, 2022 Order, the relief sought in this motion,

and any default judgments entered as a result of this and supplemental motions against Defendant

The Taliban is not binding on the determination of damages against any Defendant within this

MDL other than Defendant The Taliban.

January 19, 2024                            /S/ John M. Eubanks____________
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                                                7
